       Case: 1:21-cv-00991-JG Doc #: 5-1 Filed: 06/10/21 1 of 2. PageID #: 37



State of Ohio                  }
                               }       Declaration of Counsel of Raymond V. Vasvari, Jr.
County of Cuyahoga             }


       Raymond V. Vasvari, Jr. , having been duly cautioned, instructed and warned, does hereby
depose and testify, under penalty of perjury under the laws of the United States, as follows:
       1.       My name is Raymond V. Vasvari, Jr., and I am an adult competent to give
testimony in a court of law.
       2.       I am an attorney licensed to practice in and by the State of Ohio and admitted to
practice before the United States District Court for the Northern District of Ohio, and have been
since 1991. I am counsel for the Plaintiffs in the action styled Larry D. Reid, et al. v. Darryl
Moore, which is Case Number 1:21-cv-00991 upon the Docket of that Court (“this case”). The
information set forth in this Declaration is based upon my personal knowledge.
       1.       The Complaint (ECF No. 1) in this case was filed on May 12, 2021, and thereafter

a Summons (ECF No. 2) addressed to the Defendant was issued by the Clerk on May 13, 2021.

       2.       The undersigned declarant arranged for personal service of the Complaint, pursuant

to Civil Rule 4 (c)(2) through a process server, Mark Berus, who is more than eighteen years of

age and who is not a party to this action.

       3.       On May 19, 2021, Mr. Berus served the Defendant, Darryl Moore Sr. by leaving a

copy at his home with a person of suitable age and discretion, to wit, the son of the Defendant,

who is named Darryl Moore Jr., and whose receipt of the Summons and Complaint were attested

to in a Return of Service (ECF No. 3) filed with the Court on May 24, 2021. He scanned and

returned that Return of Service to the undersigned via email as a PDF document, which the

undersigned then filed with the Court.

       4.       Defendant Moore did not, prior to being served as described above, execute and

return to undersigned counsel a Waiver of Service of Summons extending the period within which

to answer the Complaint pursuant to Civil Rule 4 (d)(3).




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       Case: 1:21-cv-00991-JG Doc #: 5-1 Filed: 06/10/21 2 of 2. PageID #: 38




       5.      As of the date of this declaration, Thursday, June 10, 2021, twenty-two (22)

calendar days, including weekends and the Memorial Day holiday, have elapsed since Moore was

served with the Summons and Complaint in the manner described above.

       6.      This period exceeds the twenty-one (21) day period within which a Defendant must

answer, move or otherwise plead under Civil Rule 12 (a)(1)(A)(1), which period is calculated by

including weekends and federal holidays pursuant to Civil Rule 6 (a)(1)(B).

       7.      As of 6:00 p.m. EDT today, June 10, 2021, of this filing, Defendant Moore has

filed no Answer, Motion or other Responsive Pleading with the Court in this case.

       FURTHER DECLARANT SAYETH NAUGHT

        The undersigned, Raymond V. Vasvari, Jr., declares under penalty of perjury under the
laws of the United States and pursuant to 28 U.S.C. § 1746 that the foregoing is true to the best of
his personal knowledge, in witness whereof he has signed this Declaration below, at Cleveland
Heights, Cuyahoga County, Ohio on the 10th Day of June 2021.


                                                             ________________________
                                                             Raymond V. Vasvari, Jr.




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